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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


 ADREE EDMO,
                                             Case No. 1:17-cv-00151-BLW
          Plaintiff,
                                             MEMORANDUM DECISION
           v.                                AND ORDER

 IDAHO DEPARTMENT OF
 CORRECTION, et al.,

          Defendants.



                               INTRODUCTION

      Before the Court is Defendants’ Joint Motion for Extension of Time to File

Response. Dkt. 332. For the reasons explained below, the Court will deny the

motion.

                                BACKGROUND
      On September 30, 2022, this Court issued a Memorandum Decision and

Order granting in part and denying in part Plaintiff’s Motion for Attorneys’ Fees

and Costs. Dkt. 323. On October 28, 2022, Defendants filed a Notice of Appeal of

the Attorneys’ Fees Award. Dkt. 324. On November 2, 2022, the Court issued an

Abstract of Judgment. Dkt. 325. That same day, Plaintiff filed a Motion for



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Issuance of a Writ of Execution. Dkt. 326. Because Plaintiff’s filing was labeled a

“motion,” CM/ECF automatically generated a response deadline twenty-one days

out: November 23, 2022.

      On November 22, 2022, one day before the automatically-generated

response deadline expired, the Clerk of Court issued a Writ of Execution. Dkt. 330.

The next day, Defendants filed this Joint Motion for Extension of Time to File a

Response. Dkt. 332.

                               LEGAL STANDARD

      Under Rule 62(a) of the Federal Rules of Civil Procedure, execution on a

judgment is automatically stayed for 30 days after its entry unless the court orders

otherwise. Fed. R. Civ. P. 62(a). In addition to the automatic stay, “[a]t any time

after judgment is entered, a party may obtain a stay by providing a bond or other

security.” Fed. R. Civ. P. 62(b).

      After the automatic stay expires, if execution is not otherwise stayed, Rule

70(d) provides that “[o]n application by a party who obtains a judgment or order

for possession, the clerk must issue a writ of execution or assistance.” Fed. R. Civ.

P. 70(d).

      The Court’s electronic filing system, CM/ECF, automatically generates

response deadlines when motions are filed. However, Idaho Local District Rule




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7.1(a)(6) expressly states: “The time periods specified herein and automatically

generated by CM/ECF for service do not supersede, alter or amend any otherwise

applicable Federal or Local Rule or Order of the Court specifying a different time

period for service or method of computing time.”

                                     ANALYSIS

A.    Defendants were not entitled to respond to Plaintiff’s application for a
      writ of execution prior to issuance of the writ.
      Defendants object to the Court’s November 22 Writ of Execution because “it

was issued prematurely, and such is unduly prejudicial to the parties because it

violates their due process and right to be heard.” They base this assertion on a

notice, automatically generated by CM/ECF, indicating that responses to Plaintiff’s

request for a writ of execution were due November 23, 2022.

      But under the federal rules, Defendants were not entitled to respond to

Plaintiff’s request for a writ of execution before issuance of the writ. This Court’s

order awarding attorneys’ fees was issued on September 30, 2022. Under Rule

62(a), execution was automatically stayed for thirty days. On November 2, 2022,

after that automatic stay had expired, Plaintiff asked the Court to issue a writ of

execution. Although that request was labeled a “motion” in the electronic filing

system, it was simply the Rule 70(d) application for a writ of execution. Thus,

under the federal rules, the Clerk of Court was to issue the writ of execution



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without giving Defendants an opportunity to respond.

      Local Rule 7.1(a)(6) is clear that the federal rule directing issuance of a writ

of execution “on application by a party who obtains a judgment” is not superseded

by CM/ECF’s automatically-generated notice stating that responses were due by

November 23, 2022.

      In sum, despite the inaccurate automatically-generated response deadline,

Defendants were not entitled to respond to Plaintiff’s request for a writ of

execution. Rule 62(b) permits defendants to obtain a stay by posting bond but does

not otherwise permit them to delay execution of a valid judgment beyond the

automatic 30-day stay.

                                       ORDER

      IT IS ORDERED that:

      1.     Defendants’ Joint Motion for Extension of Time to File

Response/Reply (Dkt. 332) is DENIED.


                                   DATED: November 23, 2022

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                                   B. Lynn Winmill
                                   U.S. District Court Judge




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